IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

EPSILON ENERGY USA, INC.,
Civil Action No. 1:21-dv-00658
Plaintiff,
Judge Jennifer P. Wilson
Vv.

CHESAPEAKE APPALACHIA, LLC,

Defendant.

 

AMENDED COMPLAINT
Plaintiff Epsilon Energy USA, Inc. (“Epsilon”), by and through its attorneys,
files this Amended Complaint against Defendant Chesapeake Appalachia, LLC

(“CHK”) and alleges as follows:

PARTIES
1. Epsilon is an Ohio corporation with its principal place of business in
Houston, Texas.
2. The citizenship of a corporation is determined by its state of

incorporation and the location of its principal place of business. See 28 U.S.C.
§ 1332(c)(1).

3. Thus, Epsilon is a citizen of Texas and Ohio.

4, CHK is an Oklahoma limited liability company with its principal place

of business in Oklahoma City, Oklahoma.
5. CHK’s sole member is Chesapeake Energy Corporation, an Oklahoma
corporation with a principal place of business in Oklahoma City, Oklahoma.

6. Chesapeake Energy Corporation is an Oklahoma citizen.

7. The citizenship of a limited liability company is determined by the
citizenship of its members. See Lincoln Ben. Life Co. v. AEI Life, LLC, 800 F.3d 99,
105 (3d Cir. 2015) (citing Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412 3d
Cir. 2010); Johnson vy. SmithKline Beecham Corp., 724 F.3d 337 (3d Cir. 2013)).

8. CHI is therefore a citizen of Oklahoma.

JURISDICTION AND VENUE

9, This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332
because there is diversity of citizenship between Epsilon and CHK and the amount
in controversy exceeds $75,000, excluding interest and costs. 28 U.S.C. § 1332(a).

10. Venue for this matter lies in this District pursuant to 28 U.S.C. § 1391
because (1) a substantial part of the events or omissions giving rise to Epsilon’s
claims took place in this District and (2) the property that is the subject of this action
is located within this District in Susquehanna County, Pennsylvania, 28 U.S.C.
§ 1391(b}(2).

11. An actual controversy exists between the parties within the meaning of
28 U.S.C. §§ 2201, et seg., with respect to CHK’s duties to Epsilon under the

Settlement Agreement and certain Operating Agreements (““JOAs”).
FACTUAL BACKGROUND
A. The Operating Agreements

12, Beginning in 2009, Epsilon, CHK, and other oil and gas companies
(each a “JOA Party” and collectively the “JOA Parties”) began entering into JOAs
for drilling units covering acreage subject to oil and natural gas leases which had
been (or would be) combined for the purposes of natural gas development.

13. Epsilon and CHK are parties to an Operating Agreement dated October
18, 2010 for the Baltzley North Unit (“Baltzley North JOA”). A true and correct
copy is attached hereto as Exhibit 1.

14. Epsilon and CHK are parties to an Operating Agreement dated October
18, 2010 for the Baltzley South Unit (“Baltzley South JOA”). A true and correct
copy is attached hereto as Exhibit 2.

15. Epsilon and CHK are parties to an Operating Agreement dated
December 16, 2010 for the Craige Unit (“Craige JOA”). A true and correct copy is
attached hereto as Exhibit 3.

16. Epsilon and CHK are parties to a Farmout Agreement dated February
1, 2010, which covers the Blanche Poulsen North and Blanche Poulsen South Units
(“Poulsen Units”) and incorporates a draft model JOA that applies to those units
(“Poulsen JOA”). A true and correct copy of the Farmout Agreement is attached

hereto as Exhibit 4 (the Poulsen JOA appears in Schedule 7.1.2, at 61).
17. Inthe JOAs, Epsilon and CHK agreed to contribute their interests in oil
and gas leases and to jointly develop those leases as drilling units within the
geographical areas set forth in the JOAs.

18. Each JOA identifies each JOA Party’s specific working interest in the
drilling unit governed by the JOA.

19. Each of the JOAs at issue covers a different pooled unit, which is
identified as the “Contract Area.” Exhibit 1, Baltzley North JOA, Article I.C.;
Exhibit 2, Baltzley South JOA, Article I.C; Exhibit 3, Craige JOA, Article I.C;
Exhibit 4, Poulsen JOA, Article IC.

20. Each JOA is a stand-alone agreement that governs a different
geographical Contract Area.

21. Any JOA Party is entitled to propose the drilling and completion of a
new well (a “Well Proposal”). Exhibit 1, Baltzley North JOA, Articles VI.1 and
XVI; Exhibit 2, Baltzley South JOA, Articles VI.1 and XVI; Exhibit 3, Craige JOA,
Articles VI.1 and XVI; Exhibit 4, Poulsen JOA, Articles VI.1 and XVI.

22. Upon receipt of the Well Proposal, the other JOA Parties are required
to elect whether they will consent to participate with their working interests (and
thereby pay a pro rata share of the costs of developing the well). Exhibit 1, Baltzley
North JOA, Article VI.1; Exhibit 2, Baltzley South JOA, Article VI.1; Exhibit 3,

Craige JOA, Article VI.1; Exhibit 4, Poulsen JOA, Article VI.1.
23. If any JOA Party wishes to propose operations that conflict with the
Well Proposal, it has 30 days to propose those conflicting operations. Exhibit 1,
Baltzley North JOA, Article VI.6; Exhibit 2, Baltzley South JOA, Article VI.6;
Exhibit 3, Craige JOA, Article V1.6; Exhibit 4, Poulsen JOA, Article VI.6.

24. Ifaconflicting proposal is received, the JOA Parties promptly vote to
determine which of the two proposals will proceed. Exhibit 1, Baltzley North JOA,
Article V1.6; Exhibit 2, Baltzley South JOA, Article VI.6; Exhibit 3, Craige JOA,
Article V1.6; Exhibit 4, Poulsen JOA, Article VL6.

25. Under each JOA, CHK was designated to serve as the default operator
for wells drilled thereunder. Exhibit 1, Baltzley North JOA, Article V.A.; Exhibit
2, Baltzley South JOA, Article V.A; Exhibit 3, Craige JOA, Article V.A; Exhibit 4,
Poulsen JOA, Article V.A.

26. IfCHK elects not to participate in a Well Proposal and declines fo serve
as the operator, however, one of the consenting JOA Parties may serve as the
operator in conjunction with that Well Proposal. Exhibit 1, Baltzley North JOA,
Article VI.2; Exhibit 2, Baltzley South JOA, Article VI.2; Exhibit 3, Craige JOA,
Article V1.2; Exhibit 4, Poulsen JOA, Article V1.2.

27. If less than all JOA Parties elect to participate, the proposing party is
required to notify the other consenting JOA Parties of the working interests

consenting and whether the proposing party recommends proceeding with the Well
Proposal. Exhibit 1, Baltzley North JOA, Article VI.2(a); Exhibit 2, Baltzley South
JOA, Article VI.2(a); Exhibit 3, Craige JOA, Article VI.2(a); Exhibit 4, Poulsen
JOA, Article VI.2(a).

28. The consenting JOA Parties may participate with their proportionate
share of working interest of those parties that are not participating. Exhibit 1,
Baltzley North JOA, Article VI.2(a); Exhibit 2, Baltzley South JOA, Article V1.2(a);
Exhibit 3, Craige JOA, Article VI.2(a); Exhibit 4, Poulsen JOA, Article VI.2(a).

29. If the proposing party does not withdraw the Weil Proposal, the
proposing party is deemed to be participating with any outstanding interests needed
to equal 100 percent subscription. Exhibit 1, Baltzley North JOA, Article VI.2(a);
Exhibit 2, Baltzley South JOA, Article VI.2(a); Exhibit 3, Craige JOA, Article
VI.2(a); Exhibit 4, Poulsen JOA, Article VI.2(a).

30. Once 100 percent subscription is reached, the JOA Party serving as the
operator must commence operations in accordance with the Weli Proposal. Exhibit
1, Baltzley North JOA, Articles V1.2 and XVI; Exhibit 2, Baltzley South JOA,
Articles V1.2 and XVI; Exhibit 3, Craige JOA, Articles VI.2 and XVI; Exhibit 4,
Poulsen JOA, Articles VI.2 and XVI.

31. Article XVI of the JOAs sets forth the requirements for a proposal to

drill a new well.
32. In order to fulfill the requirements, a party proposing a horizontal well
must include: “(1) the estimated commencement date; (2) the proposed depth; (3)
the objective formation or formations to be penetrated or tested; (4) the Authorized
Objective, the surface and bottomhole locations, proposed directional operations;
and (5) the estimated costs of the operation, including, but not limited to, the
estimated costs of drilling, testing, and Completing or abandoning the well.
Operator’s estimate of Completion costs should be included as an informational
item.” Exhibit 1, Baltzley North JOA, Article XVI.A.2(a); Exhibit 2, Baltzley South
JOA, Article XVI.A.2(a); Exhibit 3, Craige JOA, Article XVI.A.2(a); Exhibit 4,
Poulsen JOA, Article XVI.A.2(a).

33. The JOAs contain a section entitled Order of Preference of Operations
setting forth the protocol if JOA Parties submit conflicting proposals and cannot
agree upon the manner in which to proceed with a proposed operation. Exhibit 1,
Baltzley North JOA, Article XVI.A.2(b); Exhibit 2, Baltzley South JOA, Article
XVLA.2(b); Exhibit 3, Craige JOA, Article XVI.A.2(b); Exhibit 4, Poulsen JOA,
Article XVILA.2(b).

34. Article XVI states “In the event of a conflict of inconsistency between
the provisions of this Article XVI and any other provisions of this Agreement, the
provisions of this Article XVI shall control and prevail.” Exhibit 1, Baltzley North

JOA, Article XVILN (emphasis added); Exhibit 2, Baltzley South JOA, Article

 
XVI.N; Exhibit 3, Craige JOA, Article XVILN; Exhibit 4, Poulsen JOA, Article
XVLN.

35. Finally, if any new well drilled is capable of producing oil and/or gas
in paying quantities, the Consenting Parties must complete and equip the well to
produce and then turn the well over to the Operator “if the Operator did not
conduct the operation.” Exhibit 1, Baltzley North JOA, Article VI.2(b) (emphasis
added); Exhibit 2, Baltzley South JOA, Article VI.2(b); Exhibit 3, Craige JOA,
Article VI.2(b); Exhibit 4, Poulsen JOA, Article VI.2(b).

36. The Operator then operates the newly-drilled well at its expense and for
the account of the Consenting Parties. Exhibit 1, Baltzley North JOA, Article
VI.2(b) (emphasis added); Exhibit 2, Baltzley South JOA, Article VI.2(b); Exhibit
3, Craige JOA, Article V1.2(b); Exhibit 4, Poulsen JOA, Article VI.2(b).

B. The Settlement Agreement

37. InSeptember 2018, Epsilon filed a complaint against CHK in this Court
styled Epsilon Energy USA, Inc. v. Chesapeake Appalachia, L.L.C., No. 3:18-cv-
01852.

38. Among the allegations in that lawsuit, Epsilon asserted that CHK failed
to follow the election processes in the JOAs at issue (which included the Baltzley
South and Baltzley North JOAs) in order to improperly thwart Epsilon’s efforts to

propose and drill new wells.
39. The dispute in the prior lawsuit involved new wells that Epsilon had
proposed. Epsilon had not proposed, and the dispute did not involve, work to be
performed on existing wells.

40. Epsilon sought declaratory and injunctive relief, among other demands
for relief, and filed a motion for preliminary injunction.

41. Before the Court conducted an injunction hearing, the parties settled the
dispute. A true and correct copy of the Settlement Agreement and Release entered

on October 8, 2018 (“Settlement Agreement”) is attached hereto as Exhibit 5.

42. Inthe Settlement Agreement, CHK explicitly agreed:

 

Exhibit 5 at FJ 8, 8(d).

£3. According, [anaes
44, CHK further agre<
45. In consideration for CHK’s agreement to the above,

46. Epsilon did not propose any new wells until 2020.

48. CHK drilled those new wells.

C. Ownership of Subsurface and Surface Rights

49, Upon information and belief, CHK has obtained surface and subsurface
easements for the estates that are subject to the Baltzley North, Baltzley South,
Craige, Poulsen North, and Poulsen South Units.

50. Under the JOAs, if any party owns or acquires an oil and gas interest in
the estates subject to the Baltzley North, Baltzley South, Craige, Poulsen North, and
Poulsen South Units, the interest is treated as if it were covered by the Oil and Gas
Lease attached as an exhibit to the JOAs. Exhibit 1, Baltzley North JOA, Article III;
Exhibit 2, Baltzley South JOA, Article TH; Exhibit 3, Craige JOA, Article I; Exhibit
4, Pouisen JOA, Article III.

51. Oil and gas interest is a defined term that “shall mean unleased fee and

mineral interest in Oil and Gas in tracts of land lying with the Contract Area which

10
are owned by parties to this Agreement.” Exhibit 1, Baltzley North JOA, Exhibit B;
Exhibit 2, Baltzley South JOA, Exhibit B; Exhibit 3, Craige JOA, Exhibit B; Exhibit
4, Poulsen JOA, Exhibit B.

52. The exemplar lease attached to the JOAs provides broad rights to the
subsurface and surface rights “as may be necessary or convenient... to explore for,
develop produce, measure, and market production from the Leasehold, and from
adjoining lands . . . to drill, maintain, operate ... wells; to use or install roads, electric
power... and to construct pipelines with appurtenant facilities . . . to use oil, gas
and non-domestic water sources, free of cost . . ; to operate, maintain, repair and
remove material and equipment.” Exhibit 1, Baltzley North JOA, Exhibit B; Exhibit
2, Baltzley South JOA, Exhibit B; Exhibit 3, Craige JOA, Exhibit B; Exhibit 4,
Poulsen JOA, Exhibit B.

53. In addition, the JOAs require that CHK permit a Non-Operator (such as
Epsilon) or its duly authorized representative “full and free access at all reasonable
times to all operations of every kind and character being conducted for the joint
account on the Contract Area.” Exhibit 1, Baltzley North JOA, Article V.D.5;
Exhibit 2, Baltzley South JOA, Article V.D.5; Exhibit 3, Craige JOA, Article V.D.5;

Exhibit 4, Poulsen JOA, Article V.D.5.

1]

 
54. Accordingly, ifany JOA Party obtains an easement or other right to use
property within a JOA’s Contract Area, the other JOA Parties have the same right to
use that property.

55. Finally, the JOAs expressly state that, while all parties “shall be free to
act on an arm’s-length basis in accordance with their own respective self-interest,
[that freedom is] subject, however, to the obligation of the parties to act in good faith
in their dealings with each other with respect to activities hereunder.” Exhibit 1,
Baltzley North JOA, Article VH.A; Exhibit 2, Baltzley South JOA, Article VILA;
Exhibit 3, Craige JOA, Article VH.A; Exhibit 4, Poulsen JOA, Article VILA.

D. Ownership of Water Rights Associated with Wyalusing Creek

56. The Wyalusing Creek surface water withdrawal is the water source for
the wells drilled under the Craige JOA. See SRBC Commitment Letter, a true and
correct copy is attached hereto as Exhibit 6.

57. Epsilon's contractor (Turm Oil, Inc.) initially acquired the right to
withdraw water from Wyalusing Creek from the Susquehanna River Basin
Commission (“SRBC”), and subsequently transferred the SRBC permit evidencing
that right into Epsilon's name as of August 9, 2019, See Notice of Request for
Transfer, a true and correct copy of which is attached hereto as Exhibit 7.

58. In the Farmout Agreement, Epsilon conveyed an undivided one-half

interest in its Wyalusing Creek surface water withdrawal to CHK. See Exhibit 4,

12
Farmout Agreement, at 1.1 (“Epsilon agrees to farmout and convey and Chesapeake
agrees to acquire and accept an undivided fifty percent (50%) interest .. . in ail of
the Properties for the Farmout Consideration... .”).

59. Exhibit A sets forth the “Real Property Interests” covered under the
Farmout Agreement, including two Poulsen Wells (B. Poulsen #1H and B. Poulsen
#2H) and the Hardic Well (Hardic #2H), which were drilled and supported by the
Wyalusing Creek surface water withdrawal. Exhibit 4, Farmout Agreement, at
Exhibit A.

60. The Farmout Agreement explicitly states that the “Real Property
Interests” include “[a]ll easements, permits, licenses, servitudes, rights of way and
all other rights and appurtenances on or used in connection with the Real Property
Interests, Wells or any interests pooled or unitized therewith including, without
limitation, those easements and rights of way described on Exhibit ‘A’.” Exhibit 4,
Farmout Agreement, at 1.1.9 (emphasis added).

61. Asa permit conveying the right to use the water source that Epsilon
utilized to drill and support the Poulsen Wells and the Hardic Well, the Wyalusing
Creek surface water withdrawal permit issued by the SRBC was among the
conveyed assets under the Farmout Agreement.

62. The Wyalusing Creek surface water withdrawal also constituted a right

or appurtenance “on or used in connection with the Real Property Interests”

13
described in Exhibit A to Farmout Agreement (namely, the Poulsen and the Hardic
Wells).

63. Consequently, the jointly-owned Wyalusing Creek surface water
withdrawal permit (and the corresponding right to withdraw water from Wyalusing
Creek) constitutes property that has been contributed for joint use under the JOAs.

64. The JOAs require that “any [ ] facility necessary for the operation and
development of the Contract Area shall be included as an integral part of any
proposed operation made under Article VI.B of this Agreement ... . Facility
includes, but is not limited to... water handling and disposal facilities located within
the Contract Area and specifically applicable to the proposed operation.” Exhibit 1,
Baltzley North JOA, Article XVLB (Gathering Lines/Facilities); Exhibit 2, Baltzley
South JOA, Article XVI.B; Exhibit 3, Craige JOA, Article XVLB; Exhibit 4,
Poulsen JOA, Article X VIB.

65. In March 2010, Epsilon transferred the jointly-owned SRBC permit
evidencing the right to withdraw water from Wyalusing Creek into CHK’s name.
Exhibits 18, 19 (D. Ward Letter) (D. Ward Declaration).

66. CHK did not pay any consideration to Epsilon in March 2010 in
exchange for transferring the SRBC permit into CHK’s name. Instead, Epsilon

transferred the jointly-owned permit into CHK’s name because CHK would be

14

 
serving as the operator under the Farmout Agreement and JOAs. Exhibit 19 (D.
Ward Declaration).

67. The SRBC does not allow more than one entity to be identified as the
“owner” of an SRBC water permit. Accordingly, it was not possible to list both
Epsilon and CHK as co-owners of the permit.

68. When the SRBC issues a water permit, it expressly states that the permit
does not establish that the named permittee possesses any property rights. See
Exhibit 7, Notice of Request for Transfer, at Decision 4 17 (“Commission approval
confers no property rights upon the project sponsor.”).

69. While CHK subsequently combined the jointly-owned permit with a
separate permit that CHK possessed (which entitled CHK to withdraw a separate
quantity of water from a nearby location in Wyaiusing Creek), that combination did
not extinguish Epsilon’s co-ownership interest. Epstlon continues to co-own an
undivided interest in the current consolidated SRBC permit that evidences the right
to withdraw water from Wyalusing Creek.

E. Ownership of the Marbaker Impoundment

70. The consenting parties under the JOAs are required to pay their pro rata
share of the expenses associated with the building, repair, and use of the water
facilities used to develop the Contract Area. CHK is subject to accounting audits to

ensure that parties are accurately billed for such expenses. See Exhibit 1, Baltzley

15
North JOA, Article VILA (Liability of Parties); Exhibit 2, Baltzley South JOA,
Article VII.A; Exhibit 3, Craige JOA, Article VII.A; Exhibit 4, Poulsen JOA, Article
VI. A (“Each party... shall be liable only for its proportionate share of the costs of
developing and operating the Contract Area.”); see also Stipulation of Parties
Regarding Testimony of Lane Bond, Exhibit 20.

71. A water impoundment -— known as the Marbaker Impoundment — and
related water facilities were constructed in order to utilize the Wyalusing Creek
water withdrawal to drill and further develop wells under the JOAs. Exhibit 20
(Lane Bond Stipulation).

72. Accordingly, Epsilon has paid the invoiced amounts issued by CHK. in
conjunction with water used in the operations of wells as permitted under the
appropriate JOA procedures. Exhibit 20 (Lane Bond Stipulation).

73. Because CHK constructed and utilized the Marbaker Impoundment in
order to develop jointly-owned wells under the JOAs, Epsilon is a co-owner of the
Marbaker Impoundment. Exhibit 20 (Lane Bond Stipulation).

F. Ownership of the Craige Well Pad

74. The consenting parties under the JOAs are also required to pay their pro
rata share of the expenses associated with the building, repair, and use of the well
pads that are used to develop the Contract Area. CHK is subject to accounting audits

to ensure that parties are accurately billed for such expenses. See Exhibit 1, Baltzley

16
North JOA, Article VILA (Liability of Parties); Exhibit 2, Baltzley South JOA,
Article VIIL.A; Exhibit 3, Craige JOA, Article VII.A; Exhibit 4, Poulsen JOA, Article
VII. A (“Each party ... shall be liable only for its proportionate share of the costs of
developing and operating the Contract Area.”); Exhibit 20 (Lane Bond Stipulation).

75. A well pad — known as the Craige Well Pad —- was constructed in
order to drill and further develop wells under the Craige JOA. Exhibit 20 (Lane
Bond Stipulation).

76. Accordingly, Epsilon has paid the invoiced amounts issued by CHK in
conjunction with the construction of the Craige Well Pad under the appropriate JOA
procedures. Exhibit 20 (Lane Bond Stipulation).

77. Because CHK constructed and utilized the Craige Well Pad in order to
develop jointly-owned wells under the JOAs, Epsilon is a co-owner of the Craige
Weill Pad. Exhibit 20 (Lane Bond Stipulation).

G. The Proposed Wells

78. In May 2020, Epsilon began discussions with CHK regarding new well
proposals that would advance Epsilon’s goals of growth and production in the
Auburn Development. See E-Mail exchange attached hereto as Exhibit 8, May 12,

2020, H. Clanton to J. Woodard.

17
79. In conjunction with these discussions, Epsilon shared its ideas for
proposed wells at the Craige Well Pad, located in Rush Township, Susquehanna
County, Pennsylvania. Exhibit 8, May 26, 2020, H. Clanton to J. Woodard.

80. Throughout June 2020, the parties continued to discuss the design and
spacing of the wells that Epsilon desired to drill. Exhibit 8, May-June 2020 E-mail
Discussions, H. Clanton and J. Woodard.

81. After an exchange between the parties regarding permitting, CHK
requested further information on how Epsilon proposed to operate the wells. Exhibit
8, September 28, 2020, J. Woodard to H. Clanton.

82. Epsilon responded that it was “less interested in who operates the
proposed program as long as we believe quality, safety and costs are controlled. We
are prioritized on developing the Marcellus reserves in Auburn and the larger
resource for the benefit of our shareholders.” Exhibit 8, September 28, 2020, H.
Clanton to J. Woodard.

83. Epsilon continued:

As we understand the JOA, CHK has the following options when well

proposals are made by others. CHK can; consent and operate, non-

consent but operate at the consenting parties request, or decline to
operate. In a scenario where CHK elects not to participate and declines

to operate, the consenting party or parties have the right to operate. We

need to understand how CHK would transfer operatorship and

cooperate with the designated operator, no matter whom.

An alternative approach could be to have one of the consenting parties
serve as contract operator (drill/complete/flowback/turn-over to CHK

18

 
@ TIL) with CHK remaining the operator of record.
Again, thank you for your attention to the resolution of this matter. We
understand development in Auburn may not be a priority to CHK both

from a manpower resources and commercial perspective, however it is
obviously important to EPSN.

Exhibit 8, September 28, 2020, H. Clanton to J. Woodard.

84, After this exchange, the parties discussed various options for how to
move forward with Epsilon’s suggested wells. Exhibit 8, September 29, 2020-—
October 14, 2020, H. Clanton to J. Woodard.

85. On October 14, 2020, Epsilon advised CHK that Epsilon intended to
move forward with the wells that Epsilon had suggested to ensure it could meet
permitting timelines for those wells. Exhibit 8, October 14, 2020, H. Clanton to J.
Woodard.

86. The next day, Epsilon reminded CHK that Article VI.2 of the JOAs
enabled Epsilon to proceed with the wells even if CHK elected not to participate and
declined to serve as the operator of those wells. Exhibit 8, October 15, 2020, H.
Clanton to J. Woodard.

87. In a separate communication, Epsilon provided CHK with further
reason to move forward with Epsilon’s suggested wells, noting that CHK would
benefit from a 10% discount on the gathering rate. See E-mail exchange attached

hereto as Exhibit 9, October 16, 2020, M. Raleigh to J. Taylor.

19

 
88. Two months later, on December 16, 2020, Epsilon reiterated its plan to
drill new wells on the Craige Pad. Exhibit 9, Dec. 16, 2020, M. Raleigh to J. Taylor.

89. CHK responded that there was “not much incentive to CHK to work a
deal here” and indicated that CHK wanted to come up with a scenario where
“Epsilon agrees not to propose” any additional wells. Exhibit 9, December 16, 2020
J. Taylor to M. Raleigh.

90. Epsilon responded that it would be willing to consider other options but
that it intended to continue pursuing its opportunities as allowed under the JOAs.
Exhibit 9, December 17, 2020 M. Raleigh to J. Taylor.

91. In response, CHK asserted that “CHK [was] not trying to prevent
Epsilon from any rights that it may have under the JOA. We simply feel that there
is no obligation on the part of CHIS to drill these wells.” Exhibit 9, December 18,
2020, J. Taylor to M. Raleigh.

92. On December 22, 2020, Epsilon formally proposed four wells in
accordance with the procedure set forth in the JOAs: Craige N 1LH, Craige N
1UHC, Craige N 4UHC (“Craige North Wells”) and Craige S 3LHC (“Craige South
Well’) to be located in Rush Township, Susquehanna County, Pennsylvania (the
“Proposed Wells”). See Exhibit 17, an exemplar well proposal, Baltzley South Unit.

93. Inconjunction with the Proposed Wells, CHK could elect between three

options: (1) elect to participate in the drilling and completion of the Proposed Wells

20

 
and to serve as the operator; (2) elect not to participate in the Proposed Wells but to
serve as the operator; or (3) elect not to participate in the Proposed Wells and decline
to serve as the operator (such that Epsilon or another consenting party would serve
as the operator).

94. The other JOA Parties for the Craige South Well included Equinor
Onshore Properties, Inc. (f/k/a Statoil) (“Statoil”), Chief Oil & Gas LLC (formally,
MKR Holdings, LLC) (“Chief”), Jamestown Resources, L.L.C. (“Jamestown’’),
Enerplus Resources (USA) Corporation (“Enerplus”), Radler 2000 Limited
Partnership (“Radler”), Tug Hill Marcellus, LLC (“Tug Hill”), and Unconventionals
Natural Gas, LLC (“Unconventionals”).

95. The other JOA Parties for the Craige North Wells included Statoil and
Jamestown.

96. Chief, Radler, and Tug Hill elected to participate in the Craige South
Well. However, Statoil, Jamestown, Enerplus, and Unconventionals elected not to
participate.

97. The other JOA Parties elected not to participate in the Craige North
Wells.

H. CHK’s Refusal to Cooperate and Allow Epsilon Access to Jointly-Owned
Property

98. On January 19, 2021, CHK advised that it would not participate in the

drilling of the Proposed Wells and would not serve as the operator. CHK also

21

 
asserted that Epsilon is not permitted to serve as the operator, and on that basis,
refused to grant Epsilon access to the Craige Well Pad in order to drill the Proposed
Wells. See Letters attached hereto as Exhibit 10, January 19, 2021 Non-Consent
Letters, C. Moad to R. Collins.

99. Ina letter dated that same day (although it was not delivered to Epsilon
until January 21, 2021), CHK purported to propose a new well known as the
Koromlan 107HC (“Koromlan Well’) that would be located in Rush Township,
Susquehanna County, Pennsylvania. See Letter attached hereto as Exhibit 11,
January 19, 2021 Koromlan Welli Letter, C. Moad to R. Collins.

100. CHK suggested that the Proposed Wells were in conflict “with the
planned drilling of Chesapeake’s Koromlan 107HC.” Exhibit 11, January 19, 2021
Koromlan Well Letter, C. Moad to R. Collins.

101. On January 20, 2021, CHK further stated: “Chesapeake maintains the
right to Operate the Craige pad site and associated wells, and hereby does not grant
approval or authority to Epsilon, or anyone else, to Operate from referenced pad. . .
. Subsequently, Chesapeake has plans to drill the Koromlan 107HC in early
2022, which is in conflict with Epsilon’s proposed Craige S 3LHC. As such,
Chesapeake’s well proposal will be forthcoming along with all elections for
Epsilon’s proposed wells.” See E-mail attached hereto as Exhibit 12, January 20,

2021, Scott Glenn to Mike Raleigh.

22
102. On February 9, 2021, Epsilon provided CHK with the required notice
that it had received 100% Subscription to proceed with the Proposed Wells. See
Letter attached hereto as Exhibit 13, February 9, 2021 Epsilon’s Notice of 100%
Subscription.

103. On February 11, 2021, Epsilon requested an update on the status of the
letter that Epsilon needed CHK to sign so that Epsilon could obtain the water permit
that it needed to drill the Proposed Wells (as discussed in the next section). See E-
mail exchange attached hereto as Exhibit 14, February 11, 2021, R. Collins to C.
Moad.

104. Ten minutes later, CHK responded by (1) asserting that the JOAs do
not allow Epsilon to drill a new well if CHK elects not to participate in that well and
(2) stating that CHIC would not sign the letter that Epsilon needed to obtain a water
permit for the Proposed Wells. Exhibit 14, February 11, 2021, J. Woodard to R.
Collins.

105. Epsilon responded:

It is hard for Epsilon to understand why Chesapeake takes the position

of stopping production by claiming a super veto power that is counter

to the JOAs or our prior Settlement Agreement. It is not in good faith

and in fact it is deemed to be in bad faith. Of course, Article VI2 allows

for another Operator when the designated Operator will not agree to

operate. Again, your interpretation is not in good faith.

Epsilon is interested in promoting the production of the joined

resources, which is one of the base reasons for entering a JOA. Epsilon
is furthering this interest by proposing wells that will be beneficial for

23
the parties and has also been clear that it is willing to work with

Chesapeake to ensure that Chesapeake can also proceed with its

proposed well. Epsilon has continued to act in good faith and seeks

only to have Chesapeake recognize its rights under the JOA and the

Settlement Agreement and stop Chesapeake’s obstruction of

developing the resources. The first step in doing so is signing the

SRBC letter, which Chesapeake has done in the past for other

parties. The next step is confirming that Chesapeake will provide

Epsilon with access to the properties, and otherwise cooperate with

Epsilon, so that Epsilon can fulfill its responsibilities with respect to the

four currently-proposed wells for which it has been designated as the

operator.

Exhibit 14, February 11, 2021, R. Collins to J. Woodard and C. Moad.

106. Two minutes later, CHK curtly responded, making it clear to Epsilon
at that time that the parties had reached an impasse: “Respectfully, this is not a good
faith/bad faith discussion. The plain language of the JOA does not allow for Epsilon
to assume operatorship.” Exhibit 14, February 11, 2021, J. Tarantelli to R. Collins.

107. Epsilon’s request for assistance in obtaining a water permit for the
Proposed Wells was not a surprise to CHK. Back on July 1, 2020 — when Epsilon
shared its development plans with CHK — Epsilon sought CHK's assistance in
obtaining the requisite approval from the Pennsylvania Department of
Environmental Protection (“PaDEP”) and the SRBC for a water management plan.

Exhibit 8, July 1, 2020, H. Clanton to J. Woodard (noting that “Operators are

required to submit a Water Management Plan for approval.”).

24
108. In accordance with its rights under the JOAs, Epsilon intends to use the
jointly-owned Marbaker Impoundment and jointly-owned Craige Well Pad to drill
the Proposed Wells.

109. On September 18, 2020, Epsilon sent CHK a draft SRBC commitment
letter, which CHK was required to execute in order for Epsilon to be able to use the
Wyalusing Creek water withdrawal (as the SRBC permit is issued in CHK’s name)
and the Marbaker Impoundment. Exhibit 8, September 18, 2020, H. Clanton to J.
Woodard.

110. On September 25, 2020, Epsilon reiterated that it needed CHK to sign
the SRBC commitment letter in order for Epsilon “to move forward with [Epsilon’s]
well permitting. It’s a simple one page, self-explanatory form.” Exhibit 8,
September 25, 2020, H. Clanton to J. Woodard.

111. On September 28, 2020, Epsilon contacted CHK once again about the
SRBC commitment letter, and this time referenced the parties’ obligations under the
Settlement Agreement (which expressly required CHK to provide access to jointly-
owned assets and water sources). Exhibit 8, September 28, 2020, H. Clanton to J.
Woodard.

112. On September 29, 2020, CHK stated that, until Epsilon was named as
the operator of any formally-proposed wells, CHK would not sign the SRBC

commitment letter. Exhibit 8, September 29, 2020, J. Woodard to H. Clanton.

25
113. After making its formal proposal in December 2020, Epsilon renewed
its efforts to obtain the water permit necessary to drill the Proposed Wells. On
January 29, 2021, the SRBC provided Epsilon with a commitment letter that CHK
had recently used to obtain a similar permit. See E-mail exchange attached hereto
as Exhibit 15, January 29, 2021, G. Miller to W. Jenko.

114. Using the commitment letter that CHK had recently used, Epsilon
prepared a draft commitment letter (to be signed by CHK) that would enable Epsilon
to utilize the right to withdraw water from Wyalusing Creek — an asset that Epsilon
co-owns with CHK —~ to drill the Proposed Wells. After reviewing the draft letter,
the SRBC confirmed that it was acceptable and would enable Epsilon to obtain the
water permit that it required for the Proposed Wells. Exhibit 15, January 29, 2021,
G. Miller to W. Jenko.

115. On February 9, 2021, Epsilon sent the proposed letter to CHK for
execution so that Epsilon could finalize the permitting for its Proposed Wells.
Exhibit 13, February 9, 2021, R. Collins to J. Woodard.

116. On February 11, 2021, CHK advised that it would not sign the SRBC
commitment letter. CHK reiterated its position that, because CHK had not elected
to participate, Epsilon could not proceed with its Proposed Wells. Exhibit 14,

February 11, 2021, J. Woodard to R. Collins.

26
147. Furthermore, CHK made clear in its communications with Epsilon that
it would not grant Epsilon access to the Craige Well Pad in order to drill certain of
the Proposed Wells. Exhibit 10, January 19, 2021 Non-Consent Letter, C. Moad to
R. Collins.

118. Finally, on March 17, 2021, CHK filed a notice of appeal of the permits
that the PaDEP had issued for the Proposed Wells with the Pennsylvania
Environmental Hearing Board in another attempt to obstruct Epsilon’s development
of the Proposed Wells.

L The Defective Proposal for the Koromlan Well

119. The proposal for the Koromlan Well, which CHK dated January 19,
2021 but did not provide to Epsilon until January 21, 2021, does not set forth a date
on which operations on the well would commence.

120. The proposal for the Koromlan Well indicates that the well would
traverse the Craige, Poulsen North, Poulsen South, and Davis Units.

121. The Koromlan Well would also traverse a drilling unit not yet formed,
which CHK described as the Bradbury Unit.

122. Because the Bradbury Unit has not yet been formed, the Koromlan Well
would traverse acreage (including acreage owned by Epsilon) that cannot be pooled

because it has not been unitized.

27
123. In addition, the Koromian Well's path is too close to the Craige South
Well's path.

124. Further, upon information and belief, the Koromlan Well would
traverse a block of acreage known as the Rushboro Ventures block that is not leased
(or whose lease is currently in question).

125. The following is a projection of the path of the Koromlan Well (the

only path that would comply with the JOA spacing rules) and depicts these issues:

28
 

  
 
       

  

 

Proposed wells
™A00 apart
e

 

Bradbury Unit
nat yet formed?

 

 

—__IEPSN HBP
Zn (HK Rushboro Ventures Leases
—— >» EPSN Proposed Craige 5 3LHC
ome CHK Proposed Koromlan LO7HC festinated-no tanding point given by CHK)

 

 

 

126. On February 9, 2021, Epsilon informed CHK that the proposal for the
Koromlan Well did not meet the JOA requirements for submitting a proposal. While
Epsilon noted that the Koromlan Well's path would traverse non-unitized acreage,
as well as acreage with a title defect, Epsilon indicated that it might support a similar

well if these issues could be overcome (provided that CHK proposed such a well in

29

 
accordance with and compliance with the JOAs). See Letter attached hereto as
Exhibit 16, February 9, 2021, Koromlan 107HC Well Proposal Response.

127. After submitting the proposal for the Koromlan Well, CHK did not seek
to have the JOA Parties vote on whether to proceed with the Koromlan Well or the
Craige South Well.

J. Epsilon Re-Proposes the Proposed Wells

128. On May 14, 2021, this Court issued an opinion and order in which it
concluded that the proposals Epsilon submitted on December 23, 2020 to drill the
Proposed Wells had expired.

129. On May 26, 2021, Epsilon formally re-proposed the drilling of the
Proposed Wells. See Four Well Proposals collectively attached hereto as Exhibit 21.

130. In light of the position that CHK has previously asserted in
correspondence, and advanced in this lawsuit, Epsilon understands that CHK will
not participate in the Proposed Wells and will not serve as the operator, but will
nevertheless not cooperate so that Epsilon can drill the Proposed Wells.

K. Wells That CHK Has Proposed and Drilled Under the JOAs

131. CHK has proposed the drilling of new wells under the JOAs in which
the deadlines to commence operations set forth in the well proposals were greater
than 120 days from the dates of the proposals. For example:

(a) CHK submitted a proposal on February 25, 2011 to drill the
Bluegrass 4H well. In the proposal, CHK identified the date on

30
which operations would commence as July 24, 2011 (149 days
later).

(b) CHEK submitted a proposal on September 28, 2011 to drill the GB N
SUS 2H well. In the proposal, CHK identified the date on which
operations would commence as February 14, 2012 (139 days later).

(c) CHK submitted a proposal on September 25, 2013 to drill the
Rosiemar SUS iH well. In the proposal, CHK identified the date on
which operations would commence as February 10, 2014 (138 days
later).

132, CHK submitted a proposal on or about April 5, 2012 to drill the Cook
S SUS 2H well.

133. Epsilon did not consent to participate in the Cook S SUS 2H weil.

134. CHK drilled the Cook S SUS 2H well even though not all of the JOA
Parties had consented to participate in that well.

135. CHK submitted a proposal on or about February 20, 2020 to drill the
Przbyszewski 1HC well.

136. One or more of the JOA Parties did not consent to participate in the
Przbyszewski [HC well.

137. CHK drilled the Przbyszewski J HC well even though not all of the JOA
Parties had consented to participate in that well.

138. CHK submitted a proposal on or about May 27, 2020 to drill the Maris
123HC well.

139. One or more of the JOA Parties did not consent to participate in the

Maris 123HC well.
31
140. CHK drilled the Maris 123HC well even though not all of the JOA
Parties had consented to participate in that well.

141. CHK submitted a proposal on or about May 27, 2020 to drill the Maris
22HC weil.

142. One or more of the JOA Parties did not consent to participate in the
Maris 22HC well.

143. CHK drilled the Maris 22HC weil even though not all of the JOA
Parties had consented to participate in that well.

COUNT I- DECLARATORY JUDGMENT
(Epsilon’s Right to Drill the Proposed Wells)

144. The allegations set forth in Paragraphs 1 through 137 are incorporated
by reference as if fully set forth herein.

145. Under the terms of the JOAs, CHK is required to make an election with
regard to both (1) its participation in the Proposed Wells and (2) its service as the
operator for the Proposed Wells.

146. CHK has unambiguously communicated that it will not to participate
in the Proposed Wells and wili not serve as the operator for the Proposed Wells.

147. Upon emerging from bankruptcy protection in early February 2021,
CHK was obligated to cooperate with Epsilon so that Epsilon can drill and operate

the Proposed Wells.

32

 
148. However, CHK continuously refuses to cooperate with Epsilon so that
Epsilon (or an otherwise designated operator by the consenting parties) can drill and
operate the Proposed Wells.!

149. To the contrary, CHK continuously takes the position that Epsilon (or
an otherwise designated operator by the consenting parties) may not drill on the
Craige Well Pad because CHK controls the subsurface and surface estates and will
not grant Epsilon access to the well pad.

150. In addition, CHK continuously takes the position that it will not sign
the SRBC commitment letter so that Epsilon can obtain the permit that it requires in
order to use jointly-owned water facilities to drill the Proposed Wells.

151. Rather than cooperate to assist with Epsilon's efforts to obtain drilling
permits for the Proposed Wells, CHK filed a notice of appeal with the Environmental
Hearing Board in an attempt to vacate the drilling permits that the PaDEP has issued
which will enable the Proposed Wells to be drilled.

152. CHK’s continuously refuses to cooperate, after its emergence from

bankruptcy, so that Epsilon can proceed with the development of the Proposed Wells

 

'For avoidance of doubt, all of Epsilon's claims in all Counts are based on conduct
that CHK took (or refused to take) after emerging from bankruptcy on February 9,
2021. The allegations contained herein regarding CHK's conduct before it emerged
from bankruptcy are included for historical context. However, Epsilon's requests for
equitable relief -—- including a declaratory judgment as to the parties' current duties
and obligations — are based exclusively on CHK's conduct since emerging from
bankruptcy.

33
constitutes a continuing breach of both the Settlement Agreement and the JOAs.

153. Nothing in the Settlement Agreement and/or the JOAs entitles CHK to
unilaterally veto a Well Proposal that Epsilon has submitted in accordance with the
JOAs.

154. An actual, present and justiciable controversy exists between Epsilon
and CHK concerning: (1) the Settlement Agreement and JOAs between the parties;
(2) Epsilon’s right to drill a new well if CHK elects not to participate and declines
to serve as the operator; (3) CHK’s refusal to provide access to the Craige Well Pad
so that a party designated by the consenting parties may serve as the operator; (4)
CHK’s refusal to sign the SRBC commitment letter so that Epsilon may complete
its permitting requirements to obtain water necessary to drill the Proposed Wells; (5)
CHK’s appeal of the drilling permits that the PaDEP issued to enable the Proposed
Wells to be drilled; and (6) CHK’s refusal to otherwise cooperate with Epsilon so
that it can drill the Proposed Wells.

WHEREFORE, Epsilon asks the Court to enter a judgment in its favor
declaring that, if CHK elects not to participate in a new well proposed by Epsilon
and declines to serve as the operator, then (1) Epsilon (or another consenting party)
has the right to drill and operate the proposed new well; (2) CHK has an obligation
to allow Epsilon (or another consenting party) to access the jointly-owned assets in

order to do so, including taking any actions required to facilitate such access; (3) the

34
permit evidencing the right to withdraw water from Wyalusing Creek, the Craige
Well Pad, and the Marbaker Impoundment are co-owned assets that Epsilon is
entitled to utilize to drill such a proposed new well; and (4) CHK must otherwise
cooperate with the operator designated by the consenting parties to facilitate those
drilling operations.

COUNT IT —- SPECIFIC PERFORMANCE
(SETTLEMENT AGREEMENT)

155. The allegations set forth in Paragraphs 1 through 148 are incorporated
by reference as if fully set forth herein.
156. The Settlement Agreement is a binding contract between CHK and

Epsilon.

157. CHK confirmed in the Settlement Agreement that Po

158. CHK expressly agreed in the Settlement Agreement that, if P|

159. Since emerging from bankruptcy, CHK continuously refuses to
cooperate with Epsilon with respect to the Proposed Wells. In particular, CHK

continues to (1) refuse to sign the SRBC commitment letter so that Epsilon can

35
obtain the requisite water permitting, (2) deny Epsilon access to the Craige Well Pad
that will be utilized to drill the Proposed Wells, and (3) challenge the PaDEP's
decision to issue the drilling permits that enable the Proposed Wells to be drilled.

160. CHK’s continuing refusal to cooperate regarding the Proposed Wells,
since it emerged from bankruptcy, constitutes a continuing material breach of the
Settlement Agreement.

161. Epsilon is being irreparably harmed and has no adequate remedy at law
to enforce the Settlement Agreement other than specific performance,

162. Monetary damages would be inadequate to compensate Epsilon for
CHK’s continuing violations of the Settlement Agreement because property rights
are inherently unique and no two tracts of land are identical.

163. Monetary damages would not allow Epsilon to carry out the same,
unique exploration activities or prospects anywhere else.

164. CHK’s continuing breach of the Settlement Agreement, since its
emergence from bankruptcy, have damaged the value of Epsilon’s mineral interests
in an amount that is speculative and difficult to determine.

165. Epsilon needs to timely complete its proposed drilling activity while
working conditions are adequate and support doing so, an extensive delay would

change the factors Epsilon considered in forwarding the Well Proposals.

36

 
166. The only adequate remedy for the continuing violation of Epsilon’s
rights (since CHK emerged from bankruptcy) is to compel CHK to specifically
perform the terms and provisions of the Settlement Agreement.

WHEREFORE, Epsilon respectfully requests that this Court order CHIK to
specifically perform under the Settlement Agreement by requiring CHK to (1) allow
Epsilon to access all co-owned assets — including (but not limited to) the Wyalusing
Creek water withdrawal point, Marbaker Impoundment, and Craige Well Pad — in
order to drill the Proposed Wells; (2) sign the SRBC commitment letter so that
Epsilon may secure the required permits and use co-owned water sources to drill and
operate the Proposed Wells; (3) withdraw its appeal of the issuance of the drilling
permits that PaDEP issued in conjunction with the Proposed Wells; (4) otherwise
reasonably cooperate with Epsilon so that it can drill the Proposed Wells; and (5)
grant Epsilon such other and further equitable relief as tt deems just and appropriate.

COUNT II - SPECIFIC PERFORMANCE
(JOAs)

167. The allegations set forth in Paragraphs 1 through 160 are incorporated
by reference as if fully set forth herein.
168. The Baltzley North, Baltzley South, Craige, and Poulsen JOAs are

binding contracts between CHK and Epsilon.

37

 
169. Since emerging from bankruptcy, CHK continuously asserts that it may
it may unilaterally prevent Epsilon from drilling the Proposed Wells by refusing to
participate and declining to serve as the operator.

170. Contrary to its assertion, CHK does not possess any such “veto power”
under the JOAs.

171. Since emerging from bankruptcy, CHK is continuously preventing
Epsilon drilling of the Proposed Wells by preventing access to the Craige Well Pad.

172. Since emerging from bankruptcy, CHK is continuously preventing
Epsilon from using the jointly-owned Wyalusing Creek surface water withdrawal
and associated Marbaker Impoundment for the drilling of the Proposed Wells by
(among other actions) refusing to sign the SRBC commitment letter.

173. After emerging from bankruptcy, CHK challenged the PaDEP's
decision to issue the drilling permits that enable the Proposed Wells to be drilled.

174. CHK does not have the authority to block access to the jointly-owned
assets of Epsilon under the JOAs.

175. CHK’s continued refusal to allow Epsilon access to jointly-owned
assets and to sign the SRBC commitment letter, following CHK’s emergence from
bankruptcy, constitutes a continuing material breach of the JOAs which has
prevented — and continues to prevent — Epsilon from proceeding with the Proposed

Wells.

38
176. Further, the JOAs expressly incorporate a duty on the parties to act in
good faith “in their dealings with each other with respect to activities” taken pursuant
to the JOAs.

177. By opposing Epsilon’s efforts to develop its property rights and meet
the shared goal of production, following CHK’s emergence from bankruptcy, CHK
has continuously acted in bad faith.

178. Epsilon is being irreparably harmed and has no adequate remedy at law
to enforce the JOAs other than specific performance.

179. Monetary damages would be inadequate to compensate Epsilon for
CHK’s continuing violations of the JOAs because property rights are inherently
unique and no two tracts of land are identical.

180. Monetary damages would not allow Epsilon to carry out the same,
unique exploration activities or prospects anywhere else.

181. CHK’s continuing breaches of the JOAs have damaged the value of
Epsilon’s mineral interests in an amount that is speculative and difficult to
determine.

182. Epsilon needs to timely complete its proposed drilling activity while
working conditions are adequate and support doing so, an extensive delay would

change the factors Epsilon considered in forwarding the Well Proposals.

39

 
183. The only adequate remedy for the continuing violation of Epsilon’s
tights is to compel CHK to specifically perform the terms and provisions of the
JOAs, including the provisions regarding the election to participate and operate Well
Proposals. See Exhibit 1, Baltzley North JOA, Articles VL1, V.2; Exhibit 2, Baltzley
South JOA, Articles VI.1., V.2; Exhibit 3, Craige JOA, Articles VI.1, V.2; Exhibit
4, Poulsen JOA, Articles V1.1, V1.2.

WHEREFORE, Epsilon respectfully requests that this Court order CHK to
specifically perform under the JOAs by requiring CHK to (1) allow Epsilon to access
ali co-owned assets —- including (but not limited to) the Wyalusing Creek water
withdrawal point, Marbaker Impoundment, and Craige Well Pad ——~ in order to driil
the Proposed Wells; (2) sign the SRBC commitment letter so that Epsilon may
secure the required permits and use co-owned water sources to drill and operate the
Proposed Wells; (3) withdraw its appeal of the issuance of the drilling permits that
PaDEP issued in conjunction with the Proposed Wells; (4) otherwise reasonably
cooperate with Epsilon so that it can drill the Proposed Wells; and (5) grant Epsilon
such other and further equitable relief as it deems just and appropriate.

COUNT IV — DECLARATORY JUDGMENT
(The Koromlan Well)

184. The allegations set forth in Paragraphs 1 through 177 are incorporated

by reference as if fully set forth herein.

40

 
185. Since emerging from bankruptcy, CHK continuously suggests that the
Koromlan Well is a valid proposal — and should take priority over the Craig South
Well that Epsilon proposed — even though the Craig South Well was previously
proposed and received the required 100% Subscription to proceed.

186. Article XVI_.A.2(a)(1) of the JOAs states that a proposal for a horizontal
well must include the date on which the operation will commence.

187. Nowhere in the proposal for the Koromlan Well did CHK include the
estimated commencement date.

188. Article XVI(b) of the JOAs states that the proposal for a horizontal weil
must include the Authorized Objective, which is defined as the length of the later
drain hole for the horizontal well.

189. Nowhere in the proposal for the Koromlan Well did CHK include the
Authorized Objective.

190. Accordingly, CHK’s proposal to drill the Koromlan Well is null, void,
and of no effect under the JOAs because it does not comply with the requirements
for a valid well proposal.

191. An actual, present and justiciable controversy has arisen between
Epsilon and CHK concerning whether the proposal for the Koromlan Well

constitutes a valid well proposal under the JOAs.

4]
WHEREFORE, Epsilon asks the Court to enter a judgment in its favor
declaring that (1) CHK’s proposal of the Koromlan Well does not comply with the
requirements for a well proposal under the JOAs; (2) the Koromlan Well proposal is
null, void, and of no effect; and (3) the defective proposal for the Koromian Well
does not restrict or otherwise interfere with Epsilon’s right to drill the Proposed

Wells.

Dated: June 1, 2021
Respectfully submitted,

/s/ Gregory J. Krock
Gregory J. Krock

Pa. LD. No. 78308
Elizabeth M. Thomas
Pa. LD. No. 322002

MCGUIREWOODS LLP
Tower Two-Sixty

260 Forbes Avenue, Suite 1800
Pittsburgh, PA 15222-3142
(412) 667-6000 (Telephone)
(412) 667-6050 (Facsimile)
gkrock@mecguirewoods.com
ethomas(@mceuirewoods.com

Jonathan T. Blank

Pro Hac Vice
MCGUIREWOODS LLP
652 Peter Jefferson Parkway
Suite 350

Charlottesville, VA 22911
(434) 977-2500 (Telephone)
(434) 980-2222 (Facsimile)

42
43

iblank(@meceuirewoods.com

 

Counsel for Plaintiff Epsilon Energy
USA, Inc.
CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing
Amended Complaint has been electronically served on counsel of record via the

CM/ECF filing system.

‘si Gregory J. Krock
Gregory J. Krock
